Case 14-10979-CSS Doc 933-1 Filed 06/13/14 Page 1 of 19

CERTIFICATE OF SERVICE

I, Stacy L. Newman, hereby certify that, on June 13, 2014, I caused one copy of the

foregoing to be served upon the parties on the attached service list via U.S. Mail, postage prepaid,

Haucd lor

Stacy L. Newman (#5044)
J

unless otherwise indicated thereon.

{00074510;v1 }
Case 14-10979-CSS Doc 933-1 Filed 06/13/14 Page 2 of 19

James H.M. Sprayregen, P.C.

Richard M. Cieri Chad J. Husnick
KIRKLAND & ELLIS LLP Steven N. Serajeddini
601 Lexington Avenue KIRKLAND & ELLIS, LLP
New York, NY 10022 300 North LaSalle

Chicago, IL 60654

Mark D. Collins Counsel to Atmos Energy Corporation
RICHARDS LAYTON & FINGER Daniel K. Astin
920 North King Street John D. McLaughlin, Jr.
Wilmington, DE 19801 Joseph J. McMahon, Jr.
CIARDI CIARDI & ASTIN

1204 N. King Street
Wilmington, DE 19801

Counsel to Atmos Energy Corporation Richard L. Schepacarter
Stephen C. Stapleton Office of the United States Trustee
COWLES & THOMPSON J. Caleb Boggs Federal Building
Bank of America Plaza 844 King Street, Suite 2207 — Lockbox #35
901 Main Street, Suite 3900 Wilmington, DE 19801

Dallas, TX 72505

Counsel to Texas Comptroller of Public Accounts Counsel to Texas Office of Public Utility Counsel
Rachel Obaldo, Assistant Attorney General Jason A. Starks
John Mark Stern, Assistant Attorney General Assistant Attorney General
Office of the Texas Attorney General Bankruptcy & Collections Division
Bankruptcy & Collections Division P.O. Box 12548
P. O. Box 12548 Austin, Texas 78711-2548

Austin, TX 78711-2548

2002 SERVICE LIST
10853702;v1 }
Case 14-10979-CSS Doc 933-1 Filed 06/13/14 Page 3 of 19

Counsel to Texas Commission on Environmental Quality Counsel to Texas Commission on Environmental Quality
Mark Minuti, Esquire Russell L. Munsch, Esquire
SAUL EWING LLP MUNSCH HARDT KOPF & HARR, P.C.
222 Delaware Avenue, Suite 1200 3050 Frost Bank Tower
P.O. Box 1266 401 Congress Avenue
Wilmington, DE 19899 Austin TX 78701-4071
Counsel to Texas Commission on Environmental Quality Hal F. Morris
Kevin M. Lippman, Esquire Ashley F. Bartram
MUNSCH HARDT KOPF & HARR, P.C. Assistant Attorneys General
500 N. Akard Street The Texas Attorney General’s Office
Suite 3800 Bankruptcy Regulatory Section
Dallas TX 75201-6659 Bankruptcy & Collections Division

P. O. Box 12548
Austin, Texas 78711-2548

Somervell County et al. Galena Park Independent School District
c/o Elizabeth Banda Calvo c/o Owen M. Sonik
PERDUE, BRANDON, FIELDER, COLLINS PERDUE, BRANDON, FIELDER, COLLINS
& MOTT, LLP & MOTT, LLP
P.O. Box 13430 1235 North Loop West
Arlington, Texas 76094-0430 Suite 600

Houston, TX 77008

Counsel to Young County, Graham ISD, Counsel to Red Ball Oxygen Company

Graham Hospital District & North Daniel K. Astin
Central Texas College District John D. McLaughlin, Jr.
c/o Jeanmarie Baer Joseph J. McMahon, Jr.
PERDUE, BRANDON, FIELDER, COLLINS CIARDI, CIARDI & ASTIN
& MOTT, L.L.P. 1204 N. King Street
P. 0. BOX 8188 Wilmington, Delaware 19801

Wichita Falls, TX 76307

2002 SERVICE LIST
10853702;v1 }
Case 14-10979-CSS Doc 933-1 Filed 06/13/14 Page 4 of 19

Counsel to Marathon Asset Management, LP
Philip D. Anker, Esquire
George W. Shuster, Jr., Esquire
WILMER CUTLER PICKERING HALE
ANDDORRLLP
7 World Trade Center
250 Greenwich Street
New York, New York 10007

Counsel to Marathon Asset Management, LP
Benjamin W. Loveland, Esquire
WILMER CUTLER PICKERING HALE
ANDDORRLLP
60 State Street
Boston, Massachusetts 02109

Counsel to Deutsche Bank AG New York Branch

Fredric Sosnick, Esquire
Ned S. Schodek, Esquire
SHEARMAN & STERLING LLP
599 Lexington Avenue
New York, NY 10022

Counsel to Steering Committee of
Cities Served by Oncor
Michael A. McConnell

Clay Taylor
Katherine Thomas
KELLY HART & HALLMAN LLP
201 Main Street, Suite 2500
Fort Worth, Texas 76102

10853702;v1 }

LINEBARGER GOGGAN BLAIR & SAMPSON, LLP

2002 SERVICE LIST

Counsel to Marathon Asset Management, LP
Adam G. Landis, Esquire
Matthew B. McGuire, Esquire
LANDIS RATH & COBB LLP
919 Market Street, Suite 1800
Wilmington, Delaware 19801

Counsel to Deutsche Bank AG New York Branch

Laurie Seiber Silverstein, Esquire
Jeremy W. Ryan, Esquire
POTTER ANDERSON & CORROON LLP
1313 North Market Street, 6 Floor
P.O. Box 951
Wilmington, DE 19801

Counsel to Tarrant County, Dallas County
Elizabeth Weller

2777 N. Stemmons Freeway, Suite 1000
DALLAS, TX 75207

Counsel to Steering Committee of
Cities Served by Oncor
Geoffrey Gay
LLOYD GOSSELINK ROCHELLE
& TOWNSEND PC
816 Congress Avenue, Suite 1900
Austin, TX 78701
Case 14-10979-CSS Doc 933-1

Counsel to Steering Committee of Cities Served by Oncor

Marc J. Phillips
MANION GAYNOR & MANNING LLP
The NeMours Building
1007 North Orange Street, 10th Floor
Wilmington, DE 19801

Counsel to Alcoa Inc.
Peter S. Goodman, Esquire
Michael R. Carney, Esquire

MCKOOL SMITH
One Bryant Park
47th Floor
New York, New York 10036

Counsel to Pacific Investment Management Co. LLC
Karen C. Bifferato, Esquire
Kelly M. Conlan, Esquire
Connolly Gallagher LLP
1000 West Street, Suite 1400
Wilmington, DE 19801

Counsel to Pacific Investment Management Co. LLC
JeffreyS. Sabin, Esquire
Bingham McCutchen LLP
399 Park Avenue
New York, NY 10022-4689

10853702;v1 }

2002 SERVICE LIST

Filed 06/13/14 Page 5 of 19

Counsel to UMB Bank, NA
Harold L. Kaplan
Mark F. Hebbeln
Lars A. Peterson
FOLEY & LARDNER LLP
321 North Clark Street, Suite 2800
Chicago, IL 60654-5313

Counsel to Alcoa Inc.
Adam G. Landis, Esquire
Matthew B. McGuire, Esquire
LANDIS RATH & COBB LLP
919 Market Street, Suite 1800
Wilmington, Delaware 19801

Counsel to Pacific Investment Management Co. LLC
Julia Frost-Davies, Esquire
Christopher L. Carter, Esquire
Bingham McCutchen LLP
One Federal Street
Boston, MA 02110-1726

Desiree M. Amador
Jon Chatalian
Israel Goldowitz
PENSION BENEFIT GUARANTY CORPORATION
Office of the Chief Counsel
1200 K Street, N.W.
Washington, D.C. 20005-4026
Case 14-10979-CSS Doc 933-1

Counsel to Aurelius Capital Management LP
Michael G. Busenkell
Gellert Scali Busenkell & Brown, LLC
913 N. Market Street, 10" Floor
Wilmington, DE 19801

Counsel to Fidelity Management & Research Company
Michael J. Joyce
Cross & Simon, LLC
913 N. Market Street, 11th Floor
P.O. Box 1380
Wilmington, Delaware 19899-1380

Counsel to Citibank, NA
Howard A. Cohen
Robert K. Malone
Drinker Biddle & Reath LLP
222 Delaware Ave., Ste. 1410
Wilmington, Delaware 19801-1621

Counsel to Angelina County,
Fort Bend County and Harris County
John P. Dillman
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
P.O. Box 3064
Houston, TX 77253-3064

Filed 06/13/14 Page 6 of 19

Counsel to Aurelius Capital Management LP
William P. Weintraub
Kizzy L. Jarashow
Goodwin Procter LLP
The New York Times Building
620 Eighth Avenue
New York, NY 10018
USA

Counsel to Fidelity Management & Research Company
Brad Eric Scheler
Gary L. Kaplan
Matthew M. Roose
Fried, Frank, Harris, Shriver & Jacobson LLP
One New York Plaza
New York, New York 10004

Counsel to Citibank, NA
Dennis F. Dunne
Evan R. Fleck
Karen Gartenberg
Milbank, Tweed, Hadley & McCloy LLP
1 Chase Manhattan Plaza
New York, New York 10005

Counsel to Headwaters Resources, Inc.
David E. Leta
SNELL & WILMER L.L.P.
15 West South Temple, Suite 1200
Salt Lake City, UT 84101

2002 SERVICE LIST

10853702;v1 }
Case 14-10979-CSS Doc 933-1 Filed 06/13/14 Page 7 of 19

Counsel to Texas Energy Future Capital Holdings LLC
Texas Energy Future Holdings Limited Partnership
MORRIS NICHOLS ARSHT & TUNNELL LLP
Derek C. Abbott (No. 3376)

Andrew R. Remming (No. 5120)

Erin R. Fay (No. 5268)

1201 North Market Street, Suite 1600
Wilmington, DE 19801

MCCREARY, VESELKA, BRAGG & ALLEN, P.C.
Attorneys for the Texas Ad Valorem Taxing Jurisdictions
Lee Gordon
State Bar Number 08212500
P.O. Box 1269
Round Rock, Texas 78680

Counsel to Ad Hoc Committee of TCEH First Lien Creditors
Alan W. Kornberg
Kelley A. Cornish
Brian S. Hermann
Jacob A. Adlerstein
PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
1285 Avenue of the Americas
New York, New York 10019

Counsel to Borealis Infrastructure Management, Inc.
Jay M. Goffman, Esq.
SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
Four Times Square
New York, New York 10036-6522

Counsel to Texas Energy Future Capital Holdings LLC
Texas Energy Future Holdings Limited Partnership
WACHTELL, LIPTON, ROSEN & KATZ
Richard G. Mason, Esquire
Emil A. Kleinhaus, Esquire
Austin T. Witt, Esquire
51 West 52nd Street
New York, NY 10019

Counsel to Ad Hoc Committee of TCEH First Lien Creditors
Pauline K. Morgan
Joel A. Waite
Ryan M. Andrew L. Magaziner (No. 5426)
YOUNG CONAWAY STARGATT & TAYLOR, LLP
Rodney Square, 1000 North King Street
Wilmington, Delaware 19801

Counsel to Borealis Infrastructure Management, Inc.
Mark S. Chehi, Esq.
Kristhy M. Peguero, Esq.
SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
One Rodney Square
P.O. Box 636
Wilmington, Delaware 19899-0636

Counsel to Borealis Infrastructure Management, Inc.
George N. Panagakis, Esq.
Carl T. Tullson, Esq.
SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
155 North Wacker Drive
Suite 2700
Chicago, Illinois 60606-1720

2002 SERVICE LIST

10853702;v1 }
Case 14-10979-CSS Doc 933-1

Counsel to CenterPoint Energy Resources Corp.
CenterPoint Energy Houston Electric
Steven K. Kortanek
Mark L. Desgrosseilliers
WOMBLE CARLYLE SANDRIDGE & RICE, LLP
222 Delaware Avenue, Suite 1501
Wilmington, DE 19801

Counsel to Sitel, LLC
Edward M. King, Esq.
FROST BROWN TODD LLC
400 W. Market Street, 32nd Floor
Louisville, KY 40202

Counsel to Indenture Trustee and the EFIH 2nd Lien
Objectors
Stephanie Wickouski, Esq.
Michelle McMahon, Esq.
BRYAN CAVE LLP
1290 Avenue of the Americas
New York, NY 10104

Counsel to Indenture Trustee and the EFIH 2nd Lien
Objectors

Thomas Moers Mayer, Esq.

Gregory A. Horowitz, Esq.
Joshua K. Brody, Esq.

Philip Bentley, Esq.
KRAMER LEVIN NAFTALIS & FRANKEL LLP
1177 Avenue of the Americas

New York, NY 10036

Filed 06/13/14 Page 8 of 19

Counsel to CenterPoint Energy Resources Corp.
CenterPoint Energy Houston Electric
James Prince
Omar J. Alaniz
Ian E. Roberts
BAKER BOTTS L.L.P.

2001 Ross Ave.

Dallas, TX 75201-2980

Counsel to Alcoa Inc.
Paul D. Moak
MCKOOL SMITH
600 Travis Street, Suite 7000
Houston, TX 77002

Counsel to Indenture Trustee and the EFIH 2nd Lien
Objectors
Tina Vitale, B.A.; LL.B.
Senior VP, Corporate Trust
Computershare
480 Washington Blvd.
Jersey City NJ 07310

Counsel to Indenture Trustee and the EFIH 2nd Lien
Objectors
Laura Davis Jones, Esq.
Robert J. Feinstein, Esq.
PACHULSKI STANG ZIEHL & JONES LLP
919 N. Market Street, 17m Floor
P.O. Box 8705
Wilmington, DE 19899

2002 SERVICE LIST

10853702;v1 }
Case 14-10979-CSS Doc 933-1 Filed 06/13/14 Page 9 of 19

Counsel to Tex-La Electric Cooperative of Texas, Inc.
Jeffrey R. Fine
DYKEMA GOSSETT PLLC
1717 Main Street, Suite 4000
Dallas, Texas 75201

Counsel to EFIH Second Lien DIP Commitment Parties,
Ad Hoc Committee of EFIH Unsecured Noteholders
Scott D. Cousins
Mark D. Olivere
Ann M. Kashishian
COUSINS CHIPMAN & BROWN, LLP
1007 North Orange Street, Suite 1110
Wilmington, DE 19801

Counsel to EFIH Second Lien DIP Commitment Parties,
Ad Hoc Committee of EFIH Unsecured Noteholders
AKIN GUMP STRAUSS HAUER & FELD LLP
Scott L. Alberino
Joanna F. Newdeck
Robert S. Strauss Building
1333 New Hampshire Avenue, N.W.
Washington, DC 20036-1564

Counsel to J. Aron & Company
Sean A. O’Neal
Humayun Khalid
CLEARY GOTTLIEB STEEN & HAMILTON LLP
One Liberty Plaza
New York, NY 10006

Counsel to Tex-La Electric Cooperative of Texas, Inc.
Christine C. Ryan
BRICKFIELD, BURCHETTE, RITTS & STONE, P.C.
1025 Thomas Jefferson Street, N.W.
Washington, DC 20007

Counsel to EFIH Second Lien DIP Commitment Parties,
Ad Hoc Committee of EFIH Unsecured Noteholders
AKIN GUMP STRAUSS HAUER & FELD LLP
Ira S. Dizengoff, Abid Qureshi, Stephen M. Baldini,
Meredith A. Lahaie, Robert J. Boller, Christoppher W.
Carty & Lindsay K. Zahradka
One Bryant Park
Bank of America Tower
New York, NY 10036-6745

Counsel to J. Aron & Company
Mark E. Felger
COZEN O’CONNOR
1201 North Market Street, Suite 1001
Wilmington, DE 19801

Counsel to Ad Hoc Group of TCEH Unsecured
Noteholders
Jeffrey M. Schlerf
John H. Strock
L. John Bird
FOX ROTHSCHILD LLP
919 North Market Street, Suite 300
Wilmington, DE 19801

2002 SERVICE LIST

10853702;v1 }
Case 14-10979-CSS Doc 933-1 Filed 06/13/14 Page 10 of 19

Counsel to Ad Hoc Group of TCEH Unsecured
Noteholders
J. Christopher Shore
Gregory M.
WHITE & CASE LLP
1155 Avenue of the Americas
New York, NY 10036

Counsel to Goldman, Sachs & Co.
Kevin G. Abrams, Esq.

John M. Seaman, Esq.
ABRAMS & BAYLISS LLP
20 Montchanin, Road, Suite 200
Wilmington, Delaware 19807

Counsel to TXU 2007-1 Railcar Leasing LLC
Daniel K. Astin
Joseph J. McMahon, Jr.
CIARDI CIARDI & ASTIN
1204 North King Street
Wilmington, DE 19801

Counsel to Airgas USA, LLC
Jonathan Hook
HAYNES AND BOONE LLP
30 Rockefeller Center
26" Floor
New York, NY 10112

10853702;v1 }

2002 SERVICE LIST

Counsel to Ad Hoc Group of TCEH Unsecured

Noteholders
Thomas E Lauria Matthew C.
WHITE & CASE LLP
200 South Biscayne Boulevard, Suite 4900
Miami, FL 33131

Counsel to TXU 2007-1 Railcar Leasing LLC
John A. Harris
Jason D, Curry
QUARLES & BRADY LLP
Renaissance One
Two North Central Avenue
Phoenix, AZ 85004-2391

Counsel to Airgas USA, LLC
Kathleen M. Miller
SMITH, KATZENSTEIN & JENKINS LLP
800 Delaware Avenue
Suite 1000
PO Box 410
Wilmington, DE 19899

Counsel to Airgas USA, LLC
Patrick L. Hughes
HAYNES AND BOONE LLP
1221McKinney Street
Suite 1200
Houston, TX 77010
Case 14-10979-CSS Doc 933-1 Filed 06/13/14 Page 11 of 19

Counsel to Law Debenture Trust Company of New York, Counsel to Law Debenture Trust Company of New York,

in its capacity as Indenture Trustee in its capacity as Indenture Trustee
Daniel A. Lowenthal Stephen M. Miller
Craig W. Dent MORRIS JAMES LLP
PATTERSON BELKNAP WEBB & TYLER LLP 500 Delaware Avenue, Suite 1500
1133 Avenue of the Americas P.O. Box 2306
New York, NY 10036-6710 Wilmington, DE 19899-2306
Counsel to First Union Rail Corporation Counsel to American Stock Transfer & Trust
Michael L. Schein, Esq. Company, LLC
VEDDER PRICE P.C. Lee Harrington
1633 Broadway, 47th Floor Richard C. Pedone
New York, New York 10019 Amanda D. Darwin
NIXON PEABODY LLP

100 Summer Street
Boston, MA 02110

Westinghouse Electric Company LLC Counsel to SAP Industries, Inc.
Attention: Michael T. Sweeney Donald K. Ludman
Senior Vice President & General Counsel BROWN & CONNERY, LLP

Legal & Contracts 6 North Broad Street, Suite 100
1000 Westinghouse Drive Woodbury, NJ 08096

Cranberry Township, PA 16066 USA

Counsel to Chicago Bridge & Iron Company N.V. Counsel to Property Tax Partners
David Neier, Esq. Robert J. Myers
WINSTON & STRAWN LLP MYERS * HILL
200 Park Avenue 2525 Ridgmar Blvd., Ste. 150

New York, NY 10166 Fort Worth, TX 76116

2002 SERVICE LIST
10853702;v1 }
Case 14-10979-CSS Doc 933-1

Counsel to HOLT Texas, Ltd. d/b/a Holt Cat
J. Scott Rose
JACKSON WALKER, L.L.P.
Weston Centre
112 E. Pecan Street, Suite 2400
San Antonio, Texas 78205

Counsel to HOLT Texas, Ltd. d/b/a Holt Cat
Mark L. Desgrosseilliers
WOMBLE CARLYLE SANDRIDGE & RICE, LLP
222 Delaware Avenue, Suite 1501
Wilmington, DE 19801

Counsel to Tarrant Regional Water District
Michael L. Atchley
Matthew T. Taplett
POPE, HARDWICKE, CHRISTIE,
SCHELL, KELLY & RAY, L.L.P.
500 West 7th Street, Suite 600
Fort Worth, Texas 76102

Counsel to Wilmington Trust, N.A., in its capacity as
Successor First Lien Administrative Agent and First Lien
Collateral Agent
Jeffrey T. Rose, Esquire
Vice President
WILMINGTON TRUST FSB
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402

Filed 06/13/14 Page 12 of 19

Counsel to HOLT Texas, Ltd. d/b/a Holt Cat
Monica S. Blacker
JACKSON WALKER, L.L.P.
Bank of America Plaza
901 Main Street
Suite 6000
Dallas, TX 75202

Counsel to FLSMIDTH INC., f/d/b/a/ FLSmidth Airtech
Inc. and FLSMIDTH USA INC., f/k/a FLSmidth Salt Lake
City, Inc.

Robert Szwajkos, Esquire
CURTIN & HEEFNER LLP
250 Pennsylvania Ave.

Morrisville, PA 19067

Counsel to Caterpillar Financial Services Corporation
Kathleen A. Murphy, Esquire
BUCHANAN INGERSOLL & ROONEY PC
919 North Market Street, Suite 1500
Wilmington, DE 19801

Counsel to Wilmington Trust, N.A., in its capacity as
Successor First Lien Administrative Agent and First Lien
Collateral Agent
Michael B. Schaedle, Esquire
BLANK ROME LLP
One Logan Square
130 North 18th Street
Philadelphia, PA 19103

2002 SERVICE LIST

10853702;v1 }
Case 14-10979-CSS Doc 933-1 Filed 06/13/14 Page 13 of 19

Counsel to Wilmington Trust, N.A., in its capacity as
Successor First Lien Administrative Agent and First Lien
Collateral Agent
Michael D. DeBaecke, Esquire
Stanley B. Tarr, Esquire
BLANK ROME LLP
1201 Market Street, Suite 800
Wilmington, DE 19801

Counsel to Ranger Excavating LP
Stephen Sakonchick, II
STEPHEN SAKONCHICK II, P.C.
6502 Canon Wren Drive
Austin, Texas 78746

Counsel to Creditors, Oracle America, Inc.
and Oracle Credit Corporation
Shawn M. Christianson, Esq.
BUCHALTER NEMER, A Professional Corporation
55 Second Street, 17th Floor
San Francisco, California 94105-3493

Counsel to Michelin North America Inc.
Jody A. Bedenbaugh
George B. Cauthen
NELSON MULLINS RILEY & SCARBOROUGH LLP
1320 Main Street, 17" Floor
P.O. Box 11070 (29211)
Columbia, SC 29201

Counsel to Wilmington Trust, N.A., in its capacity as
Successor First Lien Administrative Agent and First Lien
Collateral Agent
John R. Ashmead, Esquire
Kalyan Das, Esquire
Arlene R. Alves, Esquire
SEWARD & KISSEL LLP
One Battery Park Plaza
New York, NY 10004

Counsel to Mario Sinacola & Sons Excavating, Inc.
Gregory M. Weinstein
WEINSTEIN RADCLIFF LLP
6688 N. Central Expressway, Suite 675
Dallas, Texas 75206

Counsel to Targa Gas Marketing, LLC, Kinder Morgan
Texas Pipeline, LLC, Kinder Morgan Tejas Pipeline, LLC
and Kinder Morgan Texas Pipeline, LLC
Patricia Williams Prewitt
LAW OFFICE OF PATRICIA WILLIAMS PREWITT
10953 Vista Lake Court
Navasota, Texas 77868

Counsel to Lower Colorado River Authority
William T. Medaille
Lower Colorado River Authority
Legal Services
P. O. Box 220
Austin, Texas 78767

2002 SERVICE LIST

10853702;v1 }
Case 14-10979-CSS Doc 933-1

Counsel to The Bank of New York Mellon Trust
Company, N.A., as Indenture Trustee, The Bank of New
York Mellon, as Indenture Trustee
Kurt F. Gwynne Esquire
Kimberly E.C. Lawson, Esquire
REED SMITH LLP
1201 N. Market Street, Suite 1500
Wilmington, DE 19801

Daniel K. Hogan
Garvan F. McDaniel
THE HOGAN FIRM

1311 Delaware Avenue
Wilmington, DE 19806

Counsel to Thermo Fisher Scientific Inc.
Jordan S. Blask, Esq.

Lara E. Shipkovitz, Esq.
TUCKER ARENSBERG, P.C.
1500 One PPG Place
Pittsburgh, PA 15222

Counsel to Limestone County, Falls County, Robertson

-ounty, Nueces County, McLennan County, Franklin ISD,

Round Rock ISD, Lee County, Walnut Springs ISD
Diane Wade Sanders
LINEBARGER GOGGAN
BLAIR & SAMPSON, LLP
P.O. Box 17428
Austin, Texas 78760

Filed 06/13/14 Page 14 of 19

Counsel to Devon Energy Corporation
Judy Hamilton Morse
CROWE & DUNLEVY, P.C.
20 North Broadway, Suite 1800
Oklahoma City, OK 73102

Counsel to The Richards Group, Inc.
Jamie R. Welton
LACKEY HERSHMAN, LLP
3102 Oak Lawn Avenue, Suite 777
Dallas, TX 75219

Counsel to Thermo Fisher Scientific Inc.
Kevin M. Capuzzi, Esq.

PINCKNEY, WEIDINGER, URBAN & JOYCE LLC

1220 North Market Street, Suite 950
Wilmington, Delaware 19801

Counsel to ROMCO Equipment Co
John P. Melko
Michael K. Riordan
GARDERE WYNNE SEWELL LLP
1000 Louisiana, Ste. 3400
Houston, Texas 77002

2002 SERVICE LIST

10853702;v1 }
Case 14-10979-CSS Doc 933-1 Filed 06/13/14 Page 15 of 19

Counsel to City of Fort Worth Counsel to
Christopher B. Mosley The Official Committee of Unsecured Creditors
Senior Assistant City Attorney James M. Peck
CITY OF FORT WORTH Brett H. Miller
1000 Throckmorton Street Lorenzo Marinuzzi
Fort Worth, Texas 76102 MORRISON & FOERSTER LLP
250 West 55th Street

New York, New York 10019

Counsel to Counsel to the United States of America,
The Official Committee of Unsecured Creditors Department of Agriculture, Rural Utilities Service
Christopher A. Ward Matthew J. Troy
Justin K. Edelson United States Department of Justice
Shanti M. Katona Civil Division
POLSINELLI PC P.O. Box 875
222 Delaware Avenue, Suite 1101 Ben Franklin Station
Wilmington, Delaware 19801 Washington, DC 20044-0875
Counsel to Valero Texas Power Marketing, Inc. Counsel to Valero Texas Power Marketing, Inc.
Kathleen M. Miller Michael G. Smith
SMITH, KATZENSTEIN & JENKINS LLP 111 North 6th Street
800 Delaware Avenue, Suite 1000 P.O. Box 846
P.O. Box 410 Clinton, OK 73601

Wilmington, DE 19899

Counsel to United States Of America Counsel to Apollo Global Management, LLC
Ari D. Kunofsky O’MELVENY & MYERS LLP
W. Bradley Russell Attn: George A. Davis, Esq.
Trial Attorneys, Tax Division 7 Times Square
U.S. DEPARTMENT OF JUSTICE New York, New York 10036
Post Office Box 227
Ben Franklin Station

Washington, D.C. 20044

2002 SERVICE LIST
10853702;v1 }
Case 14-10979-CSS Doc 933-1

Counsel to Allen Shrode
Sabrina L. Streusand
STREUSAND, LANDON & OZBURN, LLP
811 Barton Springs Road
Suite 811
Austin, Texas 78704

BNSF RAILWAY COMPANY
Attn: Jason Spencer
3001 Lou Menk Dr.
Fort Worth, TX 76131

Counsel to NOVA Chemicals Inc.
Thomas D. Maxson
COHEN & GRIGSBY, P.C.

625 Liberty Avenue
Pittsburgh, Pennsylvania 15222-3152

Counsel to Northeast Texas Municipal Water District
Michael L. Atchley
Matthew T. Taplett
POPE, HARDWICKE, CHRISTIE,
SCHELL, KELLY & RAY, L.L-P.
500 West 7th Street, Suite 600
Fort Worth, Texas 76102

Filed 06/13/14 Page 16 of 19

Counsel to Siemens Power Generation Inc.
Sundeep S. Sidhu, Esq.
AKERMAN LLP
420 S. Orange Avenue, Suite 1200
Orlando, FL 32801-4904

EMC Corporation
c/o Receivable Management Services ("RMS")
Attn.: Ronald L. Rowland, Agent
307 International Circle, Ste. 270
Hunt Valley, MD 21030

Counsel to ArcelorMittal USA LLC
Stephen D. Lerner
' Andrew M. Simon
SQUIRE SANDERS (US) LLP
221 E. Fourth St., Suite 2900
Cincinnati, Ohio 45202

William T. Medaille
LOWER COLORADO RIVER AUTHORITY
Legal Services
P. O. Box 220
Austin, Texas 78767

2002 SERVICE LIST

10853702;v1 }
Case 14-10979-CSS Doc 933-1 Filed 06/13/14 Page 17 of 19

Mary Ann Kilgore
Jennie L. Anderson
UNION PACIFIC RAILROAD COMPANY
1400 Douglas Street, STOP 1580
Omaha, Nebraska 68179

Counsel to Invensys Systems, Inc.
Jennifer V. Doran, Esq.
HINCKLEY ALLEN
28 State Street
Boston, MA 02109

Counsel to Central Texas Security & Fire Equipment, Inc.

Steven M. Burton
SHEEHY, LOVELACE & MAYFIELD, P.C.
510 N. Valley Mills Dr., Suite 500
Waco, Texas 76710

Counsel to The Bank of New York Mellon,
solely in its capacity as Trustee under
the Enumerated Trust Agreements
Richard A. Robinson, Esquire
REED SMITH LLP
1201 N. Market Street, Suite 1500
Wilmington, DE 19801

Counsel to URS Energy & Construction, Inc.
James E. Huggett
Amy D. Brown
MARGOLIS EDELSTEIN
300 Delaware Avenue, Suite 800
Wilmington, Delaware 19801

Counsel to CSC Trust Company of Delaware, Proposed
Successor Indenture Trustee
James S. Carr, Esq.
Benjamin D. Feder, Esq.
Gilbert R. Saydah, Esq.
KELLEY DRYE & WARREN LLP
101 Park Avenue

New York, New York 10178

Counsel to The Bank of New York Mellon,
solely in its capacity as Trustee under
the Enumerated Trust Agreements
Amy M. Tonti, Esquire
REED SMITH LLP
Reed Smith Centre
225 Fifth Avenue, Suite 1200
Pittsburgh, PA 15230-2009

Counsel to UMB Bank, N.A.
Mark F. Hebbeln
Harold L. Kaplan
Lars A. Peterson
FOLEY & LARDNER LLP
321 North Clark Street, Suite 2800
Chicago, IL 60654

2002 SERVICE LIST

10853702;v1 }
Case 14-10979-CSS Doc 933-1

Counsel to UMB Bank, N.A.
Raymond H. Lemisch, Esq.

KLEHR HARRISON HARVEY BRANZBURG LLP

919 Market Street, Suite 1000
Wilmington, DE 19801

Steven A. Ginther
Special Assistant Attorney General
MISSOURI DEPARTMENT OF REVENUE
General Counsel’s Office
301 W. High Street, Room 670
PO Box 475
Jefferson City, MO 65105-0475

Counsel to NextEra Energy Resources, LLC
Adam G. Landis
Matthew B. McGuire
LANDIS RATH & COBB
919 Market Street, Suite 1800
Wilmington, DE 19801

Counsel to BOKF, NA d/b/a Bank of Arizona, as

Successor Trustee
Katharine L. Mayer, Esquire
MCCARTER & ENGLISH, LLP
405 North King Street, 8th Floor
Wilmington, Delaware 19801

10853702;v1 }

2002 SERVICE LIST

Filed 06/13/14 Page 18 of 19

Counsel to D. Courtney Construction, Inc.
c/o SEARCY & SEARCY, P.C.
P. O. Box 3929
Longview, Texas 75606

Counsel to NextEra Energy Resources, LLC
Howard Seife
David M. LeMay
Christy Rivera
CHADBOURNE & PARKE LLP
30 Rockefeller Plaza
New York, NY 10112

Counsel to BOKF, NA d/b/a Bank of Arizona, as
Successor Trustee
Samuel S. Ory, Esquire
FREDERIC DOWART, LAWYERS
Old City Hall
124 East Fourth Street
Tulsa, OK 74103-5027

Counsel to Titus County Fresh
Waste Supply District No. 1
Lino Mendiola
Michael Boldt
ANDREWS KURTH LLP
111 Congress Avenue, Suite 1700
Austin, Texas 78701
Case 14-10979-CSS Doc 933-1

Counsel to Ad Hoc Group of EFH Legacy Noteholders
David S. Rosner, Esq.
Andrew K. Glenn, Esq.
Daniel A. Fliman, Esq.

KASOWITZ, BENSON, TORRES & FRIEDMAN LLP

1633 Broadway
New York, New York 10019

Counsel to Automatic Systems, Inc.
Gregory D. Willard, Esq.
CARMODY MACDONALD P.C.
120 S. Central Avenue, Suite 1800
St. Louis, MO 63105

Counsel to Martin Engineering Company
David D. Farrell
THOMPSON COBURN LLP
One US Bank Plaza, Suite 3200
St. Louis, Missouri 63101

Filed 06/13/14 Page 19 of 19

Counsel to Travis County
KAY D. BROCK
Assistant County Attorney
P.O. Box 1748
Austin, TX 78767

Counsel to Automatic Systems, Inc.
Gregory T. Donilon, Esq.
PINCKNEY, WEIDINGER, URBAN & JOYCE LLC
1220 North Market Street, Suite 950
Wilmington, DE 19801

Counsel to BP America Production Company
C. Davin Boldissar
Locke Lord LLP
601 Poydras Street, Suite 2660
New Orleans, Louisiana 70130-6036

2002 SERVICE LIST

10853702;v1 }
